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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: OIL SPILL by the OIL RIG                 *                   MDL NO. 2179
       “DEEPWATER HORIZON” in the               *
       GULF OF MEXICO, on                       *
       APRIL 20, 2010                           *                   SECTION: J
                                                *
      Relates to: All Cases.                    *
                                                *                   JUDGE BARBIER
                                                *                   MAG. JUDGE SHUSHAN
*************************************************

                                PRE-TRIAL ORDER NO.            __

                             [Governing the Discovery of Experts]

       Upon the Stipulation of all Liaison Counsel, and to promote judicial efficiency:

       IT IS ORDERED THAT:

       With respect to any person or entity whom a party to these proceedings expects to call as a

witness to present expert testimony or other evidence under Rules 702, 703 or 705 of the Federal

Rules of Evidence, the amended provisions of Federal Rules of Civil Procedure 26(b)(4)(B) and

26(b)(4)(C) which become effective on December 1, 2010, shall apply retroactively to April 20,

2010, governing the discovery conducted in all actions or claims falling within this Multi-District

Litigation (MDL) proceeding, irrespective of when the action or claim in question was originally
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filed.

         Further, any fees charged by an expert for responding to discovery, including time spent at

depositions, shall be paid by the party who has retained the expert.

         SIGNED this _____ day of ____________________, 2010, New Orleans, Louisiana.




                                                              Hon. Carl J. Barbier
                                                              U.S. District Court Judge




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